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                              IN THE UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF OKLAHOMA


         1. Renee Eilene Johnson,

                                    Plaintiff,

    v.
                                                  Case Number: 23-CV-169-CVE-CDL

    1.      PC Woodland Manor, LLC, an
            Oklahoma foreign liability
            company,

    2.      Bridge Property Management,
            LC, An Oklahoma foreign
            limited company,

    3.      RPM Living, LLC, an
            Oklahoma registered foreign
            Limited Liability Company,

    4.      Vesta Realty, LLC, an
            Oklahoma foreign limited
            liability company,

    5.      Woodland Manor’s Best
            Living, LLC, an Oklahoma
            foreign limited liability
            company,

    6.      Skylar Rae Mosby-
            Gudmundsson, in her capacity
            as agent for the corporate entities
            and in her individual capacity,


    7.      Woodland Manor TIC 1, LLC,
            an Oklahoma foreign limited
            liability company,

    8.      Varia US Tulsa, LLC, a
            Delaware Limited Liability
            Company,
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    9.         Varia US Holdings, LLC, a
               Delaware Limited Liability
               Company,

    10.        Varia US Properties AG,
               Switzerland, a Swiss real estate
               company,

    11.        Stoneweg Group, a Geneva,
               Switzerland based international
               real estate and investment
               management firm,

    12.        Stoneweg Investments, LLC, a
               Delaware Limited Liability
               Company,

    13.        Stoneweg US Employees, LLC,
               a Delaware Limited Liability
               Company,

                                  Defendants.



                       PLAINTIFF’S CORRECTED FIRST AMENDED COMPLAINT

          1.      In accordance with this Court Order dated September 12, 2023 (Doc. 55), the Plaintiff

   corrects the First Amended Complaint filed on September 11, 2023, to correct the names of the

   Defendants Bridge Property Management, LC, and Stoneweg US Employees, LLC.

          2.      Plaintiff, Renee Johnson, amends her Complaint filed on April 27, 2023 (Doc. 2), and

   brings this action against Defendants PC Woodland Manor, LLC (PCWM), RPM Living LLC.,

   (RPM), Bridge Property Management, LC. (BPM), Vesta Realty, LLC. (Vesta), Woodland

   Manor’s Best Living, LLC. (WMBL), Woodland Manor TIC 1, LLC (WMT), Varia US Tulsa,

   LLC, Varia US Holdings, LLC, Varia US Properties AG, Switzerland (Collectively, Varia),

   Stoneweg Investments, LLC., Stoneweg US Employees, LLC, Stoneweg Group, (Collectively,

   Stoneweg), and Skylar Mosby-Gudmundsson, for violations of the Fair Housing Act and the Fair

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   Housing Amendments Act, 42 U.S.C.A. § 3601, et seq., the Rehabilitation Act of 1973, § 504,

   29 U.S.C. § 794, the Oklahoma Discrimination in Housing Act and the Oklahoma Anti-

   Discrimination Act, 25 Okla. Stat. § 1401, et. seq.

           3.    The corporate entity Defendants have denied and delayed and are denying and are

   delaying necessary requested reasonable accommodations to the Plaintiff, a person, known to them

   as a person with disabilities, in violation of the Fair Housing Act, the Oklahoma Discrimination

   in Housing Act, the Rehabilitation Act of 1973, § 504, and the Oklahoma Residential

   Landlord and Tenant Act, §113.2(B).

           4.    The Defendants have made discriminatory statements that violate the Fair Housing

   Act, the Oklahoma Discrimination in Housing Act, and the Rehabilitation Act of 1973, § 504

   because of the Plaintiff’s disability.

           5.    The Defendants retaliated and conspired to retaliate against the Plaintiff for

   exercising guaranteed civil rights based upon her membership in one or more protected classes in

   violation of the Fair Housing Act, the Rehabilitation Act of 1973, and the Oklahoma Anti-

   Discrimination Act

           6.    The Defendants violated the Oklahoma Residential Landlord and Tenant Act by

   failing to make repairs and denying Plaintiff’s reasonable accommodations relating to her service

   dogs.

           7.    The corporate entity Defendants breached the lease agreement by engaging in each

   of the aforementioned actions.

                                            JURISDICTION AND VENUE




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          8.      This Court has subject matter jurisdiction over the Plaintiff’s claims brought under

   federal law pursuant to 28 U.S.C. §§ 1331, 1343, and 2201 and jurisdiction over state law claims

   pursuant to 28 U.S.C. § 1367.

          9.      This Court has personal jurisdiction over the Defendants because the Defendants

   conduct business in the Northern District of Oklahoma, in Tulsa County, the subject contract was

   made and expected to be performed in the Northern District of Oklahoma, and the Plaintiff’s claims

   for relief arise from the Defendants’ discriminatory conduct and breach of contract that occurred

   in the Northern District of Oklahoma, in Tulsa County.

          10.     Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391 (b) because all

   or a substantial part of the acts and omissions of the Defendants giving rise to this action occurred

   in the Northern District of Oklahoma.

                                           BACKGROUND FACTS

                                                    PARTIES

            11.    Plaintiff, Renee Johnson is a 58-year-old woman, who rents Apt 7., 8677 E 61st

   St., Tulsa, Oklahoma, an apartment located at the Woodland Manor Apartments. She is a disabled

   woman who lives alone. Plaintiff has undergone multiple brain surgeries within the past ten years

   to deal with her arteriovenous malformation diagnosis (AVM). These brain surgeries have caused

   Ms. Johnson to have many neurological issues and nerve damage, in addition to being extremely

   sensitive to light and high-pitched sounds. Ms. Johnson’s mobility is limited and inconsistent. She

   requires the use of a wheelchair at times. Ms. Johnson has great difficulty writing legibly, as well

   as other tasks that would involve fine and gross motor skills. She has difficulty with her memory.

   She also suffers from migraines. She uses a smaller service dog, Shante, to ensure Plaintiff

   continues breathing when her breathing becomes labored or delayed. Ms. Johnson utilizes a


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   Section 8 Housing Choice Voucher to assist her in paying her rent. Ms. Johnson has stated that she

   just wants a safe place to live and to be able to use and enjoy her unit as much as she can.

          11.     PC Woodland Manor, LLC (PCWM) is an Oklahoma foreign limited liability

   company in Oklahoma. PCWM owned and managed the Woodland Manor Apartments, an

   independent living community for seniors 55 and older that was built in 1997, in Tulsa,

   Oklahoma. Upon information and belief, the Woodland Manor Apartments was PCWM’s only

   asset. PCWM is owned by the Varia Defendants and managed by the Stoneweg Defendants.

          12.      Defendants, RPM Living LLC, an Oklahoma foreign limited liability company

   originating from Texas, is the property management company that managed the apartment

   complex in which the Plaintiff lives during some of the conduct complained of herein. RPM and

   PCWM were agents of one another and joint venturers for the subject property. RPM aided,

   abetted, and/or conspired with Defendant PCWM to deprive Ms. Johnson of her civil rights. RPM

   was the principal of Defendant Gudmundsson. It adopted and ratified her unlawful conduct

   complained of herein. RPM was an agent of the Varia Defendants and the Stoneweg Defendants

   when it engaged in, ratified, and adopted the conduct herein described.

          13.         Defendant Bridge Property Management, LC (BPM), is an Oklahoma foreign

   limited company. It managed the Woodland Manor Apartments immediately before Defendant

   RPM and originated the conduct herein described. BPM was the agent of Defendant PCWM. It

   was a co-conspirator with PCWM in the acts complained and aided and abetted PCWM in said

   acts. BPM was also the principal of Defendant Gudmundsson. BPM was the agent of the Varia

   Defendants and the Stoneweg Defendants.

          14.        Defendant, Vesta Realty, LLC. (Vesta) is an Oklahoma foreign limited liability




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   company. It is the registered agent for Defendants WMT and WMBL, an agent and coventurer

   with them, and a co-conspirator with them in the acts complained of herein. Defendant Vesta is

   also a joint venturer, an agent, principal, and co-conspirator with all corporate Defendants herein,

   and the principal of the individual Defendant Gudmundsson. Vesta adopted and ratified the

   unlawful conducted engaged in by Defendant Gudmundson of which the Plaintiff now complains.

   Defendant Vesta also aided and abetted all Defendants in the unlawful conduct complained of

   herein. Defendant Vesta is an agent of the Varia Defendants and the Stoneweg Defendants.

          15.     Defendant Woodland Manor TIC 1, LLC. (WMT) is an Oklahoma foreign limited

   liability company. It is a Delaware limited liability company, File Number 6976624. According to

   the records of the Delaware Secretary of State, the formation date for WMT was August 18, 2022.

   The Delaware registered agent for service of process is the Corporation Trust Company in

   Wilmington, Delaware in New Castle County, Delaware. On August 24, 2022, WMT registered

   with the Oklahoma Office of the Secretary of State, file number 371387800. WMT’s identified

   registered agent is Defendant Vesta. WMT has no known internet presence and no disclosed

   members. It is believed to be the alter ego of the Defendant PCWM. Additionally, it is the agent

   and principal of PCWM. It is also the agent and principal of Defendants Vesta, RPM, and WMBL.

   It is the principal of Defendant Gudmundsson and the landlord of Ms. Johnson. WMT is a co-

   owner of Woodland Manor Apartments. It is a co-conspirator with all named Defendants, and it

   has aided and abetted the remaining Defendants in the unlawful conduct complained of herein.

   Upon information and belief, WMT’s only asset is the Woodland Manor Apartments. WMT is an

   agent of the Varia Defendants and the Stoneweg Defendants. WMT is an alter ego of VUT.

          16.     Defendant WMBL is an Oklahoma foreign limited liability company. It is




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   originally registered in the State of Delaware, file number 6839170. The Delaware registered agent

   for service of process is the Corporation Trust Company, in Wilmington, Delaware, in New Castle

   County, Delaware. WMBL became a Delaware limited liability company on June 6, 2022. On June

   7, 2022, WMBL became a registered foreign limited liability company with the State of Oklahoma,

   file number 3713132130. WMBL’s identified registered agent is Defendant Vesta. WMBL has no

   known internet presence and no disclosed members. It is believed to be the alter ego of the

   Defendant PCWM. It is the principal of Defendant Gudmundsson, and the landlord of Ms. Johnson

   WMBL is a co-owner of Woodland Manor Apartments. Upon information and belief, WMBL’s

   only asset is the Woodland Manor Apartments. WMBL is one of the alter egos of VUT.

          17.     Defendant Varia US Tulsa, LLC (VUT), is a Delaware limited liability company,

   Delaware Secretary of State file number 5977199. VUT’s filing date was March 1, 2016. VUT is

   a subsidiary of Defendant Varia US Properties AG, Switzerland. It is a subsidiary of Varia US

   Holdings, LLC. VUT is a member of PCWM, which owned Woodland Manor Apartments.

   Defendants Stoneweg manages VUT. PWCM is one of the alter egos of VUT.

          18.     Defendant Varia US Holdings, LLC (VUH), is a Delaware limited liability

   company, Delaware Secretary of State file number 6395585. VUH’s filing date was November 16,

   2021. VUH is the sole member of VUT. VUH’s sole member is Defendant Varia US Properties

   AG, Switzerland. VUH holds an ownership interest in the Woodland Manor Apartments.

   Defendants Stoneweg manage VUH. VUH is the sole member of Defendant VUT. VUT is the

   alter ego of VUH. VUH succeeded to the proceeds from the sale of the complex in 2022.

          19.     Defendant Stoneweg Investments, LLC (SIL) is a Delaware limited liability

   company, Delaware Secretary of State file number 6839992. SIL’s filing date was November 14,

   2016. Defendant SIL is a member of PCWM. It is the agent and principal of all corporate



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   Defendants herein named. It is the principal of the named individual Defendants – excepting for

   Varia US Properties AG, Switzerland. PCWM is the alter ego of SIL.

          20.        Defendant Stoneweg Group (SG) is a Geneva, Switzerland based, international real

   estate asset management firm with over $ 6.2 billion of assets and projects under its management.

   Varia US Properties has delegated its asset management to SG. SG is active in Switzerland, the

   US, Spain, Italy, Ireland and Andorra with differentiated, country-specific strategies. SG was

   formed by Swiss senior real estate executives with a broad experience both in national and

   international real estate. SG formed a US subsidiary, Stoneweg US LLC. 1 Defendant SG manages

   all investments and assets of Defendant Varia. It succeeded to the proceeds of the sale of the

   complex. PCWM is the alter ego of SG. The named Stoneweg Defendants are the alter egos of SG.

          21.        Defendant, Stoneweg US Employees, LLC. (SUSE), is a Delaware limited liability

   company, Delaware Secretary of State file number 6789800. SUSE filed its entity documents with

   the Delaware Secretary of State on May 10, 2022. SUSE is a subsidiary of SG. According to

   Varia’s website, SUSE “assists in the selection of assets, the local asset management and the

   development of the local network. 2” SUSE assists with the asset management of Woodland Manor

   Apartments, one of Varia US Properties AG, Switzerland’s local U.S. assets. SUSE is both agent

   and principal of all named Defendants. SUSE is a co-conspirator with all named Defendants and

   a party to all conduct complained of herein. SUSE aided and abetted all Defendants in the conduct

   complained of herein. It succeeded to the proceeds from the sale of the complex. Specifically, the

   settlement statement identifies SUSE as the reimbursee for expenses associated with the sale of

   the complex. PCWM is the alter ego of SUSE. SUSE is the alter ego of the remaining Stoneweg

   Defendants.


          1
              https://variausproperties.com/about/
          2
              https://variausproperties.com/about/

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          22.        Defendant Varia US Properties AG, Switzerland (VUSP) is the parent of the Varia,

   Stoneweg, and Woodland corporate entities identified herein. VUSP is a Swiss real estate company

   based in Zug, Switzerland. As of September 2022, VUSP’s portfolio comprised 40 assets spread

   across 15 different states in the United States of America with a total value of approximately

   $1.659 billion. The portfolio is 100% residential and comprises 11,008 units among which 448 are

   Low-Income Housing Tax Credit (LIHTC) units and 10,560 are market units. Compared to

   December 2021, the portfolio grew in value by 14.3% or USD 180 million. 3 VUSP acquired

   Woodland Manor Apartments in April 2016. According to VUSP’s website, Woodland Manor

   Apartments has a value of $26.5 million. VUSP is the principal and agent of all named Defendants.

   It is the agent and principal of all Defendants herein named. VUSP is the sole member of Defendant

   VUH. Defendants are the alter egos of VUSP. VUSP is the sole member of Defendant VUH. VUSP

   succeeded to the proceeds from the sale of the complex.

          23.        Defendant Skyler Mosby-Gudmundsson is the property manager for the Woodland

          Manor Apartments. She is the agent of all corporate Defendants identified herein.

   Defendant Gudmundsson is a co-conspirator with the named Defendants herein.



              Varia US Properties AG, Switzerland’s (VUSP) US assets, business structure, and
                         the management of Woodland Manor Apartments.

          24.        Defendant VUSP is a Swiss real estate company based in Zug, Switzerland.

   VUSP’s objective is “to maximize long-term value by acquiring, owning, repositioning, managing

   and selling US multifamily properties.” 4 In the United States, VUSP owned, operated, and

   managed 40 properties in 15 different states in the United States of America with a total appraised



          3
              https://variausproperties.com/portfolio-overview/
          4
              https://variausproperties.com/about/
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   value of approximately $1.659 billion. One hundred percent of the properties owned, operated,

   and managed by VUSP in the United States are residential properties. VUSP’s residential

   properties consist of 11,008 units, of which 448 are LIHTC units, and 10,560 are market units.

           25.       VUSP’s structure, as identified on its website, https://variausproperties.com, is as

   follows 5:

                    The Company indirectly invests in real estate properties in the United States
           through a set of so-called blockers and PropCo companies. For each property or portfolio
           that the Company acquires, one or several blocker companies as holding subsidiaries are
           incorporated, normally in the legal form of a limited liability company typically
           incorporated in Delaware, United States. Usually, Varia US Properties holds 100% of the
           interests in the single or series of holding subsidiaries. Each holding subsidiary
           incorporates one or several limited liability companies with the sole purpose of holding the
           title in one or several properties, a so called PropCo LLC. It is the Company’s intention
           that the subsidiary holding holds 100% and 100% of the equity interest of the votes in each
           PropCo LLC.

                   Varia US Properties capitalizes the blockers with a mix of equity and debt
           in the form of shareholder loans.

                     The below graphic depicts the typical target structure:




           5
               Id.
                                                          9
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           26.    According to VUSP’s website, its business strategy is as follows:

           According to its investment regulations, Varia US Properties invests in US multifamily

   real estate properties and pursues a mid to long-term investment perspective through the following

   individual strategy based on three pillars:

                   The Company acquires properties that allow for value-adding measures,
           including refurbishment, renovation and other operating measures, in order to
           maximize the rent potential at limited incremental costs before looking for an
           attractive exit.

                  In addition, the Company invests in properties profiting from Low Income
           Housing Tax Credit (“LIHTC”) to generate attractive rental profit and realize value
           growth once these properties have been transitioned to the non-rent restricted
           market.

                   The Company also aims at selectively investing in stabilized properties with
           limited improvement potential, such that it can benefit from secure rental income
           and the value growth in the mid to long-term.

                   Varia US Properties focuses on the low to moderate income level assets and,
           in particular, on the LIHTC (Low Income Housing Tax Credit) properties. LIHTC
           properties benefit from a tax credit program when they are built and are then
           subjected to rent and tenant income level restrictions usually for the first fifteen
           years following construction. Once the restriction period has lapsed, a transition to
           the free market can be negotiated. As of September 2022, LIHTC assets amount to
           approximately 4% of the portfolio’s value.

           27.    Defendant VUSP created Defendant SG specifically to manage its various property

   interests.

           28.    Defendant SUSE assists in the selection of assets, the local asset management and

   the development of the local network.

           29.     In January 2016, the Varia and Stoneweg Defendants created PCWM, as an

   Oklahoma foreign limited liability company. The members of PCWM are VUT and SIL.

           30.     In March 2016, the Varia and Stoneweg Defendants created Defendant VUT.

           31.    The sole member of Defendant VUT is Defendant VUH.

           32.    The sole member of Defendant VUH is Defendant VUSP.

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          33.     VUSP acquired the Woodland Manor Apartment complex in April 2016.

          34.     Upon information and belief, based upon VUSP’s identified target structure, the

   complex was PCWM’s only asset.

          35.    Upon information and belief, based upon VUSP’s identified target structure, VUSP,

   through VUT and SUSE, held 100% of the equity interest and 100% of the votes for Defendant

   PCWM. The Varia and Stoneweg Defendants are joint venturers.

          36.    The Varia and Stoneweg Defendants directly control PCWM.

          37.     In October 2022, after pending litigation, PCWM transferred its interest in the

   complex to Woodland Manor’s Best Living, LLC, and Woodland Manor TIC 1, LLC.

          38.    Defendants WMBL and WMT are the new PropCo, LLCs for the Woodland Manor

   Apartments.

          39.    Pursuant to the settlement closing statement, the Varia and Stoneweg Defendants

   received all proceeds from the sale of the complex.

          40.    According to the Tulsa County Assessor’s website, the Varia and Stoneweg

   Defendants received $22,525,000 in proceeds from the sale of the complex, with additional

   disbursements for miscellaneous expenses.

          41.    Pursuant to VUSP’s website, through February 16, 2023, it retained ownership of

   the Woodland Manor Apartment complex.

          42.    Based upon Varia’s statement of ownership of Woodland Manor Apartments,

   WMBL and WMT are the subsidiaries of Varia.

          43.     Pursuant to its corporate structure, Varia, Stoneweg, and PCWM entered into

   facility management agreements with Defendants BPM, RPM, and Vesta for property management

   services at Woodland Manor Apartments.



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          44.        Woodland Manor Apartments is a LIHTC property located in Tulsa, Oklahoma

   that was built in 1997.

                FACTS RELATING TO THE FAIR HOUSING ACT AMENDMENT of 1988

          45.        In 1988, Congress passed the Fair Housing Amendments Act, which

   specifically created and defined the disability protected category and created protections for

   disabled persons as it relates to requests for reasonable accommodations and reasonable

   modifications.

          46.        The Fair Housing Amendments Act of 1988 also mandated that every multi-family

   housing development built, after March 13, 1991, meet certain accessibility standards, including:

          the public use and common use portions of such dwellings are readily accessible to
          and usable by handicapped persons; all the doors designed to allow passage into
          and within all premises within such dwellings are sufficiently wide to allow passage
          by handicap persons in wheelchairs; and all premises within such dwellings contain
          the following features of adaptive design: an accessible route into and through the
          dwelling; light switches, electrical outlets, thermostats, and other environmental
          controls in accessible lo-cations; reinforcements in bathroom walls to allow later
          installation of grab bars; and u-sable kitchens and bathrooms such that an individual
          in a wheelchair can maneuver about the space.

          42 U.S. Code § 3604(f)(3)(C)(I-IV).

          47.       The Fair Housing Amendment Act of 1988 ensured that multi-family

   housing owners would be responsible for complying with the American National Standards for

   buildings and facilities regarding the accessibility of units for disabled people. 6

          48.       The Fair Housing Accessibility Guidelines, originally published in the Federal

   Register on March 6, 1991, listed further ways in which multi-family housing units needed to be

   accessible, such as the provision that “primary entry doors to dwelling units with direct exterior




          6
              42 U.S. Code § 3604(f)(4).

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   access” be “no more than ½ inch below the floor level of the interior dwelling unit” if “they are

   constructed of impervious material such as concrete, brick or flagstone.” 7

                                    INCIDENTS OF ALLEGED DISCRIMINATION

          49.       In July of 2020, Plaintiff spoke with Defendants’ leasing agents about renting a

   unit at Woodland Manor and told them that she had two assistance animals that help with her

   different disability-related needs.

          50.      Plaintiff informed Defendants’ agents about her writing disability, leading one of

          Defendants’ agents to help Plaintiff complete her rental application.

          51.       Defendants’ agents initially told the Plaintiff that for them to accommodate her

   that she would need to complete a long, complicated Reasonable Accommodations form.

          52.      Plaintiff was also told by Defendants’ agents that she would be limited to one

   service dog.

          53.      The Defendants’ agents told Ms. Johnson that if she failed to complete their

   accommodations form within the short timeframe provided, then she would have to pay a non-

   refundable pet deposit of $300 and a $20 application fee for her dog.

          54.     Plaintiff told Defendants’ agents that she had a letter from her doctor that verified

   her need for her service dogs but that she would be unable to get her doctor to complete the required

   form within the allotted timeframe.

          55.     Plaintiff then told Defendant that it was illegal to charge fees and pet deposits on

   service animals and illegal to limit the number of service animals a disabled person can have.

          56.     Feeling like she had no options, Plaintiff re-homed Libe, upon whom she relied to

   assist her with rotating her neck when her neck became swollen and stuck in one position.


          7
            Final Fair Housing Accessibility Guidelines, 56 Fed. Reg. 9507 (March 6, 1991) (codified at 24
   C.F.R. ch. 1)

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          57.      As a result of having to re-home Libe, Plaintiff no longer has a service dog that is

   small enough to help rotate her neck; she also lost the additional emotional companionship that

   Libe provided for 13 years.

          58.      Plaintiff’s initial lease term was from August 6, 2020 until July 31, 2021, and her

   contract rent was set at $792.

          59.     The Defendants and the Tulsa Housing Authority (THA) entered into a Housing

   Assistance Program contract, under which, inter alia, the THA agreed to pay a portion of the

   Plaintiff’s monthly rental obligation.

          60.     Plaintiff’s tenant rent responsibility portion was $221 per month, and the Tulsa

   Housing Authority’s monthly portion was $571 per the Housing Assistance Program (HAP)

   agreement with Defendants.

          61.    Per Defendants’ demand, Plaintiff paid the $300 pet deposit on August 6, 2020

   and her $20 pet application fee prior to move in.

          62.     Toward the beginning of her tenancy, Plaintiff found there were further reasonable

   accommodations she needed.

          63.    Plaintiff noticed that there is a light directly outside of her apartment door that

   triggers her light sensitivity and causes her to become dizzy.

          64.    Plaintiff’s light sensitivity is so severe that that she regularly wears sunglasses to

   protect her eyes when she is outside.

          65.    Plaintiff informed management of this problem shortly after moving in, and the

   Defendants’ agents accommodated the Plaintiff’s disability-related need initially by allowing her

   to unscrew the lightbulb that was outside her apartment.




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             66.   Plaintiff also noticed that her unit’s exterior door threshold, which is connected by

   concrete to the interior door threshold, has a prominent and unexpected elevation change.

             67.   This elevation change between the interior and exterior door is approximately 1.5

   inches.

             68.   As a result of this, September of 2020, Plaintiff requested a wheelchair ramp to

             deal with the improper threshold issue.

             69. Upon making her request, she was told by the Defendants’ agent, a maintenance

             worker, that she would have to pay for the repair herself; she was then ignored for some

   time by Defendants’ agents regarding this issue.

             70.    In August of 2020, Plaintiff informed Defendants that her service animal is

             highly trained and requested a reasonable accommodation that the service dog be allowed

   outside without a leash because of the high likelihood that the dog will either pull Plaintiff out of

   her motorized chair unexpectedly because of the leash or pull her down while she is walking.

             71.   Plaintiff’s request was ignored initially.

             72.   In August 2020, Plaintiff received a lease violation that alleged that she had

   unauthorized occupants in her home when the alleged unauthorized occupants were actually

   Plaintiff’s grandchildren spending an evening at her home.

             73.   Since the beginning of Plaintiff’s tenancy, Plaintiff would make her repair requests

   verbally to staff either over the phone or in person to Defendants’ agents, who would claim the

   maintenance order requests had been written down by them.

             74.   Regardless of this, Plaintiff’s maintenance concerns were rarely, if ever,

   addressed.

             75.   On or about November 1st, 2020, Plaintiff traveled to the office to pay rent



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   through the door to Defendants’ Agent, April Rodriguez, who accepted rent on Defendants’ behalf

   in compliance with their COVID-19 policy.

             76.   Shortly thereafter, Rodriguez altered the Plaintiff’s money order by removing the

   Plaintiff’s name as the payor on her money order, causing Ms. Johnson’s November rent to be

   considered late and later unpaid by Defendants.

             77.       Plaintiff did not learn until March of 2021 that Rodriguez altered her money

   order and that the Defendants did not credit her for the November 2020 rent.

             78.       She filed a police report in April of 2021 regarding the matter, which she shared

   with Defendants.

             79.       However, Defendants continued to demand the November 2020 rent from the

   Plaintiff and continued to charge her a $50 late fee on that ‘missing’ rent payment for several

   months between November 2020 until February of 2022.

             80.       Plaintiff orally renewed her request to go without a dog leash sometime in early

   2021 to Defendants’ agents, which went ignored.

             81.       In April of 2021, Plaintiff learned that her beloved service dog, Libe, had died,

   meaning Plaintiff would never be reunited with her.

             82.       On April 28, 2021, Plaintiff made an oral maintenance request for a wheelchair

   ramp to Defendants’ agents.

             83.   On April 29, 2021, Plaintiff received a note on her door from management, stating

   that her request must be made in writing, despite Plaintiff’s disabilities causing great strain on her

   ability to write.

             84.   On May 3, 2021, the Defendants presented the Plaintiff with a lease nonrenewal

   notice.



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           85.    Also on May 3, 2021, the Defendants gave the Plaintiff a notice that her

   communications with Defendants needed to be in writing going forward.

           86.    The notice further barred the Plaintiff from entering the front office without an

   appointment.

           87.    In July of 2021, Plaintiff’s air conditioning unit went out for a period of seven

   days.

           88.    The heat caused Plaintiff extreme discomfort and restricted her ability to breathe.

           89.    Plaintiff made multiple requests, 3-4 times a day, to Defendants’ agents by phone

   that they address her lack of air conditioning.

           90.    The air conditioning unit was not replaced for seven days.

           91.    On July 21, 2021, Legal Aid Services of Oklahoma LITHC property, they would

   need “good cause” to non-renew Plaintiff.

           92.    This communication prompted Defendants to forgo their efforts to

   non-renew Plaintiff’s lease.

           93.    In early August 2021, the Defendants’ agents rescinded Plaintiff’s light bulb

   accommodation without first notifying the Plaintiff.

           94.    Plaintiff would throw a towel loosely over the light fixture to temporarily alleviate

   the issues caused by the bright light bulb.

           95.    Between July 28th, 2021 and August 4th, 2021, Defendants contacted security

   officers twice about Ms. Johnson covering the light bulb outside of her home with a small piece

   of fabric and expressed concerns that the fabric posed a fire hazard.

           96.    On August 4th, 2021, Defendants gave a “watch order” to security to monitor

   Plaintiff’s apartment regarding concerns for the potential fire hazard.



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           97.     In August of 2021, Plaintiff’s counsel Legal Aid Services of Oklahoma composed

   a letter to Defendants, informing them that Plaintiff is a person with a disability and describing

   how the light outside Plaintiff’s door negatively impacts her health.

           98.     Counsel requested that Plaintiff’s reasonable accommodation revocation be

   reversed and provided Defendants with four possible accommodation alternatives to consider: they

   could disable the light, move the light, use a dimmer bulb, or install a barrier between the light and

   Plaintiff’s door.

           99.     That request went without any attempt by Defendants to engage in an

   interactive process with her.

           100.        During October or November of 2021, Defendants’ agents expressed disbelief

   concerning the Plaintiff’s light-related disability.

           101.    In late 2021, Plaintiff became disoriented by the bright light outside of her

   door as she attempted to enter her apartment; she then tripped on the uneven threshold, causing

   her to fall into her home, onto her right shoulder.

           102.    The fall caused Plaintiff to fracture her skull and dislocate her right shoulder.

           103.    In late 2021, following Ms. Johnson’s August 2021 request regarding the light

   fixture, a maintenance man, installed an even brighter light outside of Plaintiff’s door that Plaintiff

   was unable to remove.

           104.        Plaintiff’s continuous late fees that resulted from her missing November 2020

   rent payment prompted Plaintiff’s social worker to apply for rental assistance on Ms. Johnson’s

   behalf, despite Ms. Johnson timely tendering her rental payment in November 2020.

           105. The emergency rental assistance program (“ERAP”) application was submitted to

   Restore Hope for review in July of 2021.



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           106.     On September 28, 2021, Plaintiff’s social worker reached out to Defendant

   Skylar Mosby-Gudmundsson by phone to request that Plaintiff be allowed to let her dog go

   unleashed when outside to prevent Plaintiff from tripping or being pulled down by her dog.

           107.     On October 1, 2021, Defendant Mosby-Gudmundsson denied this request,

   citing concern for city code and stated that Plaintiff could get someone to take her dog outside for

   her. Plaintiff lives alone.

           108.     Plaintiff has maintained an adequate rental insurance policy through State Farm

   from January 2022 through present time.

           109.      In February of 2022, Defendants charged Plaintiff for a lapse in renter’s

   insurance for $8.95, despite her State Farm agent having provided Woodland Manor with evidence

   of Ms. Johnson’s policy.

           110.      As a result of the Defendants’ failure to grant her reasonable accommodation

   request regarding her service dog’s leash, Plaintiff suffered a skull fracture in February of 2022

   when her service dog pulled on the leash while they were outside, causing her to fall.

           111.       Following the receipt of ERAP funds in early 2022, Skylar Mosby

   Gudmundsson told Plaintiff that if it were not for the ERAP funds they received on Plaintiff’s

   behalf, Defendants would have evicted Plaintiff.

           112.      In February or March of 2022, the excessively bright light bulb that was

   installed directly outside Plaintiff’s unit went out.

           113.      In March of 2022, Defendants eventually provided the Plaintiff with a

   negligently constructed ramp.

           114.     The negligently constructed ramp exacerbated the Plaintiff’s mobility

   limitations and has never been suitable for its intended purpose.



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           115. The ramp destroyed the rubber tires used on Plaintiff’s motorized wheelchair on

   one incident.

           116. The poor construction of the ramp has caused Plaintiff to fall backwards in

   her wheelchair while attempting to enter her home on more than one occasion.

           117. Due to this, Plaintiff uses the ramp very slowly and deliberately but remains fearful

   of falling again.

           118. On August 9, 2022, Plaintiff’s counsel renewed Ms. Johnson’s request by letter

   to have two service animals, to have her pet deposit returned, and request that either her service

   dog be able to go unleashed when outside or that another alternative be offered to Plaintiff.

           119. Defendant PC Woodland Manor LLC’s counsel responded on August 29th, 2022,

   stating that Defendants would credit Plaintiff’s pet deposit to her account and would allow her to

   have two service dogs.

           120. In that same letter, Defendant PC Woodland Manor LLC rejected Plaintiff’s

   request to allow her service dog to go unleashed while she walks the dog outside, citing concern

   for Tulsa’s restrictions regarding unleashed dogs.

           121. In September of 2022, Defendants’ agents installed a dimmer light outside

   Plaintiff’s door, which ameliorated the symptoms of Plaintiff’s disability.

           122. On or about October 19, 2022, Defendants’ agents sprayed Plaintiff’s unit for

   pests, despite Plaintiff previously informing them that the pesticide used triggers migraines and

   other problems for Plaintiff.

                                            HUD 903 COMPLAINT

            123.       On August 10, 2022, Plaintiff’s counsel submitted a HUD 903 complaint on




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   Plaintiff’s behalf, describing the discrimination Plaintiff faced because of her disability at

   Woodland Manor.

              124.   In late August, the assigned HUD investigator began their investigation of

   Plaintiff’s allegations, which included interviewing both parties and reviewing documentation

   provided by both parties.

              125.   On September 1, 2022, Plaintiff’s counsel continued communications by letter

   with Defendant PC Woodland Manor LLC’s counsel regarding Plaintiff’s previously requested

   reasonable accommodations, including the dog leash accommodation request.

              126.   Since Defendant PC Woodland Manor did not offer alternatives to the dog leash

   reasonable accommodation initially requested by Plaintiff, Plaintiff’s counsel requested that a

   fenced-in dog area be built outside of Plaintiff’s apartment that would allow Plaintiff’s service dog

   to walk freely without creating a tripping hazard or fall risk for Plaintiff.

              127.   This request was not responded to until further communication was initiated by

   the HUD investigator.

              128.   Upon interviewing both parties, the HUD investigator attempted conciliation

   between the parties.

              129.   In October of 2022, Defendant PC Woodland Manor LLC’s counsel, via the

   HUD Investigator, offered to allow Plaintiff the ability to pay for her own fenced-in dog area

   outside in exchange for the dismissal of the complaint.

              130.   Plaintiff did not feel this offer would address her concerns, or appropriately

   address the extent of the issues Plaintiff has had with Defendants and declined this offer through

   counsel.

              131.   Conciliation efforts became less effective upon PC Woodland Manor, LLC selling



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   Woodland Manor to Woodland Manor’s Best Living, LLC on October 11, 2022.

           132.    Plaintiff chose to dismiss the complaint by counsel on January 10, 2023.

            RETALIATION FOLLOWING THE FILING OF THIS COMPLAINT

           133. In October 2022, Defendants WMT and WMBL became the owners of the

   Woodland Manor Apartments.

           134. At the same time, Defendant Vesta became the property manager of the company.

           135. Defendants WMT, WMBL, and Vesta retained Defendant Mosby-Gudmundson as

   their agent and onsite property manager.

           136. In early June of 2023, Plaintiff’s purse was stolen prior to her being able to pay rent

   to Defendant PWCM.

           137. On or about June 7th or June 8th, 2023, Plaintiff went to the front office of Woodland

   Manor to see if they would be willing to accept rent belatedly from her with consideration given

   to the fact her purse had been stolen earlier in the month and the fact that she relies solely on her

   SSDI income to pay her expenses.

           138. An agent of Woodland Manor denied Ms. Johnson’s request and stated that they

   would not be willing to accept her rent unless it included the late fee of $50, which Ms. Johnson

   was unable to pay.

           139. On July 3, 2023, Ms. Johnson tendered her $160 money order to Woodland Manor

   for July’s rent, which was accepted by Defendant PCWM’s agents.

           140. On July 11, 2023, the Defendants served Ms. Johnson with a five-day notice to pay

   rent or quit stating that she owed $320 in rent and $100 in late fees, accounting for two months

   rent.

           141. On July 24th, Ms. Johnson walked into Woodland Manor’s front office to provide



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   Defendant Mosby-Gudmundsson with a copy of her SSDI income statement.

           142. While in the office, Ms. Johnson requested a receipt form her July 3, 2023 rent

   payment.

           143. Defendant Mosby-Gudmundsson said that she would provide Ms. Johnson with her

   receipt if Ms. Johnson would sign the document that Ms. Mosby-Gudmundsson had handed to her.

           144. Ms. Johnson complied with signing the document, not realizing that the document

   authorized the return of her July 3, 2023 rent payment back to her.

           145. Once she handed the money order back to Ms. Johnson with a copy of the notice

   Plaintiff had signed, Defendant Mosby-Gudmundsson explained that Defendant PCWM would not

   be accepting partial payments from Ms. Johnson going forward.

           146. On July 26, 2023, Plaintiff’s counsel brought the circumstances regarding

   Defendants’ non-acceptance of Plaintiff’s rent to the attention of Defendants’ counsel, asking that

   Defendants accept Plaintiff’s rent and warning them that not accepting Plaintiff’s rent felt like

   retaliation against Plaintiff under the Fair Housing Act.

          147. On that same day, through counsel, Plaintiff requested a reasonable accommodation

   that her outstanding rent payments be accepted by Defendants and requested that the late fees be

   waived because Plaintiff’s disability has rendered her unable to work and reliant on her limited

   SSDI income to pay all of her expenses.

          148. Defendants rejected Plaintiff’s reasonable accommodation request by ignoring it.

          149. On August 1, 2023, Ms. Johnson attempted to pay rent again in the

   front office, using a money order.

           150. Defendant Mosby-Gudmundsson rejected Plaintiff’s August payment and informed

   Ms. Johnson that Defendants WMT and WMBL would be filing for eviction against her.



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           151. Defendant PWCM filed for eviction against Plaintiff that same day, August 1, 2023.

           152. A hearing was set in Tulsa County Small Claims Court for August 10, 2023.

          153. On August 10, 2023, Defendant Gudmundsson told Plaintiff’s Legal Aid Services of

   Oklahoma, Inc.’s eviction defense counsel that if Plaintiff were to dismiss her lawsuit against the

   Defendants named above, then WMBL and WMT would dismiss the eviction against Plaintiff and

   accept her rent.

           154. Plaintiff, through counsel, rejected this offer.

          155. The district court dismissed the case holding that the Defendants WBML and WMT

   failed to comply with the federal regulations that governed the contract.

                                         INJURY TO THE PLAINTIFF

           156.         As a result of the Defendants’ actions as described above, the Plaintiff suffered

   and continues to suffer irreparable loss and injury including, but not limited to, humiliation,

   anxiety, insomnia, embarrassment, emotional distress, reputational harm, and deprivation of her

   rights to equal housing opportunities because of her disabilities. She has suffered harm more than

   $100,000.

          157.        By engaging in the unlawful conduct described above, the Defendants acted

   intentionally and maliciously with callous and reckless disregard of the federally and statutorily

   protected rights of the Plaintiff. Therefore, this Court must award punitive damages to Ms. Johnson

   to punish the Defendants for its conduct and to make an example of it to others.

          158. Defendant PCWM is the alter ego of the Varia and Stoneweg Defendants. The

   Varia and Stoneweg Defendants are the true principals of PCWM, since they control 100% of the

   equitable and voting interests of PCWM. They created Defendant PCWM as a sham limited

   liability company to shield themselves from liability. They divested PCWM of its only asset, the



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   complex, and retained the proceeds for themselves. It is appropriate for the Court to find them

   liable for the actions of their alter egos. This Court should employ reverse piercing of the limited

   liability company, Defendant PCWM, to assess liability against the Varia and Stoneweg

   Defendants for the actions of their alter egos.

           159. Additionally, the conduct of the Defendants is unconscionable as a matter of law.

   Therefore, this Court must award Ms. Johnson civil penalties against the Defendants, pursuant to

   the Oklahoma Consumer Protection Act, for each violation of the Act. Because of the

   egregiousness of the Defendants’ conduct, this Court must award to Ms. Johnson the maximum

   penalty for each violation of the Act.

                                                  CLAIM 1

           Violations of 42 U.S.C. §§ 3604 (c), (f) (1) (a), (f)(2)(a), (f)(3) (b), and (f)(3) (c).

           160. The Plaintiff repeats her assertions of facts contained in the paragraphs above as fully

   set forth herein.

           161.         The facts, as alleged above support violations of the Fair Housing Act as

   follows:
                   a.        Defendants violated 42 U.S.C. § 3604(c) by making oral statements,

   doubting Plaintiff’s disabilities.

                   b.        Defendant violated 42 U.S.C. § 3604(f)(1)(a) by physically making

   housing unavailable to her at Woodland Manor because of her disability by not repairing her front

   door threshold.

                   c.        Defendant violated 42 U.S.C. § 3604(f)(2)(a) by applying different terms,

   conditions, and privileges to Plaintiff’s tenancy because of her disability.

                   d.        Defendant violated 42 U.S.C. § 3604(f)(3)(B) and the facts pleaded herein,

   the Defendants have engaged in an unlawful discriminatory housing practice by refusing to grant

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   the Plaintiff’s requested reasonable accommodations when such were necessary to afford her an

   equal opportunity to use and to enjoy her dwelling at the apartments.

                   e.         Plaintiff alleges that Defendants violated 42 U.S.C. § 3604(f)(3)(B) when

   they rejected her reasonable accommodation for two service dogs at or around the time of move

   in and initially charged her for a pet deposit on her service dog.

                   f.         Plaintiff also alleges that Defendants violated 42 U.S.C. § 3604(f)(3)(B)

   when they initially rejected her light-related accommodation that pertains to the light bulb outside

   of her unit, failed to provide her with alternative options, and intentionally sought to exacerbate

   Plaintiff’s disability by putting up an even brighter light.

                    g.       Plaintiff alleges that Defendants’ refusal to make an accommodation to its

   policy that requires her to place her requests in writing despite her disability-imposed limitations

   is a violation of 42 U.S.C. § 3604(f)(3)(B).

                   h.         The Defendants’ negligent design and construction of the wheelchair ramp,

   which has made the Plaintiff’s entryway inaccessible to her violates 42 U.S.C. § 3604 (f) (3) (C).

                                                   CLAIM 2

                   Violations of the Fair Housing Act, 42 U.S.C. § 3617

           162.     The Plaintiff repeats her assertions of facts contained in the paragraphs above as

   fully set forth herein.

            163.         The facts above assert a cause of action for violations of the Fair Housing Act,

   42 U.S.C. § 3617.




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                                                 CLAIM 3

                Violations of the Oklahoma Discrimination in Housing Act and the Anti-

                Discrimination Act, Okla. Stat. tit. 25, §1452(1), (2), (3), 15(a)(1), (b)(1), 16(b),

                1601 (1).

            164.        The Plaintiff repeats her assertions of facts contained in paragraphs above as

   fully set forth herein.
            165.        In support of the following claims, Plaintiff repeats and realleges every

   allegation contained above as if fully set forth herein.

            166.       Defendants violated Okla. Stat. tit. 25, §1452(1) by physically making housing

   unavailable to her at Woodland Manor because of her disability.

            167.        Defendants violated Okla. Stat. tit. 25, §1452(2) by applying different terms

   and conditions to Plaintiff’s tenancy because of her disability, as it relates to her treatment by

   staff, their willingness to perform repairs for her, their poor communication and lapses in

   communication with her, the limitation they placed upon Plaintiff that she would only be

   allowed to communicate with staff in writing, and the limitation placed on Plaintiff that she was

   not allowed to go to the front office without an appointment.

            168.       Plaintiff alleges that Defendants violated Okla. Stat. tit. 25, §1452(16)(a) when

   they rejected her reasonable accommodation for two service dogs at or around the time of move

   in and initially charged her for a pet deposit on her service dog.

            169.       Plaintiff also alleges that Defendants violated Okla. Stat. tit. 25, §1452(16)(a)

   when they initially rejected her light-related accommodation that pertains to the light bulb outside

   of her unit, failed to provide her with alternative options, and intentionally sought to exacerbate

   Plaintiff’s disability by putting up an even brighter light.


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           170.    Plaintiff alleges that Defendants’ continuous refusal to honor her oral requests for

   maintenance is a failure to accommodate her in violation of Okla. Stat. tit. 25, §1452(16)(a).

            171.      Plaintiff also alleges that Defendants violated Okla. Stat. tit. 25, §1601(1) when

   they retaliated against her in the instances described above.

                                             CLAIM 4

           Violations of Oklahoma Consumer Protection Act, Okla. Stat. tit. 15, §753(20)

            172.     The Plaintiff repeats her assertions of facts contained in the paragraphs

   above as fully set forth herein.

            173.      The Oklahoma Consumer Protection Act, 15 Okla. Stat. § 752 (14) defines an

   Unfair Trade Practice as, “any practice which offends established public policy or if the practice

   is immoral, unethical, oppressive, unscrupulous or substantially injurious to consumers.”

            174.      Defendants committed an unfair trade practice under Okla. Stat. tit. 15, §753(20)

   by continuing to charge Plaintiff late fees on her November 2020 rent into 2022, despite her paying

   that rent.

            175.      Defendants committed an unfair trade practice Okla. Stat. tit. 15, §753(20) by

   charging Plaintiff for home renter’s insurance through Defendants’ insurance provider for

   February 2022, despite Plaintiff’s insurance provider having informed Defendants of Plaintiff’s

   separately obtained coverage.

           176.    The Oklahoma Consumer Protection Act, 15 Okla. Stat. § 752 (1) defines a person

   as “a natural person, corporation, trust, partnership, incorporated or unincorporated association, or

   any other legal entity.”

            177.       The Oklahoma Consumer Protection Act, 15 Okla. Stat. § 752 (2) defines a




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   consumer transaction as, “the advertising, offering for sale or purchase, sale, purchase, or

   distribution of any services or any property, tangible or intangible, real, personal, or mixed, or any

   other article, commodity, or thing of value wherever located, for purposes that are personal,

   household, or business oriented.”

          178.    The Defendants owned, operated, and/or managed the Woodland Manor

   Apartments, where the Plaintiff applied for rental housing.

          179.    Pursuant to the Oklahoma Consumer Protection Act, 15 Okla. Stat. § 753 (20), “A

   person engages in a practice which is declared to be unlawful under the Oklahoma Consumer

   Protection Act when, in the course of the person's business, the person: 20. Commits an unfair or

   deceptive trade practice as defined in Section 752 of this title.” 25

          180.    The Oklahoma Consumer Protection Act, 15 Okla. Stat. § 752 (13) defines a

   Deceptive Trade Practice as, “a misrepresentation, omission or other practice that has deceived or

   could reasonably be expected to deceive or mislead a person to the detriment of that person. Such

   a practice may occur before, during or after a consumer transaction is entered into and may be

   written or oral.”

          181.    The Oklahoma Consumer Protection Act, 15 Okla. Stat. § 752 (14) defines an

   Unfair Trade Practice as, “any practice which offends established public policy or if the practice

   is immoral, unethical, oppressive, unscrupulous or substantially injurious to consumers.”

          182.    The conduct of the Defendants is unconscionable, as a matter of law, because the

   Defendants knowingly or with reason to know, took advantage of a Ms. Johnson, a consumer

   reasonably unable to protect her interests because of physical infirmity, ignorance, and inability to

   understand the language of an agreement or similar fact. 15 Okla. Stat. § 761.1 (B). 26




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                                                     CLAIM 5

                  Violation of the Oklahoma Residential Landlord and Tenant Act, Okla. Stat. tit.

                  41, §113.2(B); §118(2)

            183.       The Plaintiff repeats her assertions of facts contained in the paragraphs above as

   fully set forth herein.

           184.      Defendants violated the Oklahoma Residential Landlord and Tenant Act, Okla.

   Stat. tit. 41, §113.2(B), by denying Plaintiff’s reasonable accommodation request to have two

   different service dogs that performed different functions for Plaintiff.

            185.        Plaintiff’s exterior door threshold in her unit does not meet the accessibility

   guidelines referenced in 42 U.S.C. § 3604(f)(4), despite Woodland Manor being built in 1997.

           186.      The Fair Housing Act Amendment of 1988 specified that all multi-family

   dwellings built after March 13,1991 need to be in compliance with the published accessibility

   standards regardless of whether or not the occupants have disabilities that necessitate compliance

   with those standards.

            187.        Plaintiff informed Defendants’ staff that a wheelchair ramp would repair

   the threshold design issue, an issue that negatively impacts Plaintiff specifically because her

   disabilities and burdens Plaintiff’s entry into her home.

            188.       Plaintiff made requests for this repair numerous times, including once in writing,

   which all went ignored by Defendants before a sub-par wheelchair ramp was offered to Plaintiff

   some months later that continues to cause issues for Plaintiff.

            189.       Defendants failed to meet their duty required by Okla. Stat. tit. 41, §118(2) to

   make repairs and maintain Plaintiff’s unit in a fit and habitable condition that also complies with

   required standards set out in the Fair Housing Act Amendment (“FHAA”).



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                                            CLAIM 6

           Violation of the Rehabilitation Act of 1973, § 504, 29 U.S.C. § 794

            190.      The Plaintiff repeats her assertions of facts contained in the paragraphs above as

   fully set forth herein.

            191.      The Defendants, as a recipient of federal financial assistance, must follow the

   Rehabilitation Act of 1973, § 504, to provide qualified disabled individuals an equal opportunity

   to participate in its housing program.

            192.       At all times during her occupancy, and presently, Ms. Johnson qualified and

   qualifies to participate in the Defendants’ federally financially assisted housing program.

           193.    The Defendants have denied her an equal opportunity to participate in its federally

   financially assisted housing program by refusing to grant her requested reasonable accommodation

   and by retaliating against her for exercising her protected rights.

           194.    Under the Rehabilitation Act of 1973, § 504, the Defendants’ alleged actions, that

           were taken because of her disability, constitute unlawful discrimination based on disability

   in violation of § 504.

                                                CLAIM 7

                                            Breach of Contract

            195.      The Plaintiff repeats her assertions of facts contained in the paragraphs above as

   fully set forth herein.

           196.    The Defendants’ above alleged actions constitute breaches of contract, specifically

   as it relates to conduct that is prohibited by provisions of Plaintiff’s lease with Defendants.

           197.    Ms. Johnson has been harmed, as set out above, as a direct result of the Defendants’

           conduct.


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           198.       Ms. Johnson is entitled to damages, including a reasonable attorney fees for the

   prosecution of this case.

                                          CLAIM 8

                                        Reverse Veil Piercing

          199.    The Plaintiff repleads and herein incorporates all previously asserted facts stated in

   paragraphs above as if set forth herein in full.

          200.     As pleaded above, the Varia and Stoneweg Defendants are the sole members of

   the PCWM, LLC.

          201.     The Varia and Stoneweg Defendants hold 100% of the equity in Defendant

   PCWM.

          202.      Defendants Varia and Stoneweg capitalized Defendant PCWM with only the

   subject complex.

          203.        The Defendants Varia and Stoneweg sold the only asset belonging to PCWM and

   divided the proceeds among themselves.

          204.        The Defendant PCWM is an undercapitalized entity that has little or no ability to

   answer for judgments against it.

          205.        Defendants Varia and Stoneweg control 100% of the equity and voting for

   PCWM.

          206.        Defendants Varia and Stoneweg retained Defendant Vesta Realty, Bridge

   Property Management, and RPM Living before to act as their property manager.

          207.        This Court must pierce the veil of the limited liability company, Defendant

   PCWM, to hold the Defendants Varia and Stoneweg liable for the judgment to the extent that

   Defendant PCWM has insufficient ability to pay.



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                                        RELIEF REQUESTED

    WHEREFORE, Plaintiff requests:

          A.      A judicial determination that Defendants have/has violated the Fair Housing Act;

          B.      A judicial determination that the Defendants have violated the Oklahoma

   Discrimination in Housing Act.

          C.      A judicial determination that the Defendants have violated the Oklahoma Anti-

   Discrimination Act.

          D.      A judicial determination that the Defendants have/has violated the Oklahoma

   Residential Landlord and Tenant Act;

          E.      A judicial determination that the Defendants have/has violated the Oklahoma

   Consumer Protection Act;

          F.      A judgment for compensatory damages under the Oklahoma Consumer Protection

   Act;

          G.      A judgment for punitive damages for Plaintiff because of Defendants violations of

   the Fair Housing Act;

          H.      A judicial determination that Defendants have violated the Rehabilitation Act of

   1973, § 504, as set forth above;

          I.      A Judicial determination that violations have breached the terms incorporated in

   Plaintiff’s lease, as provided for by the HCV program.

          J.      A judgment for actual and punitive damages against the Defendants for their

   violations of each of the aforementioned Acts.

          K.      Statutory damages for violations of the Oklahoma Residential Landlord and

          Tenant Act;



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          L.      Civil penalties for the unconscionable conduct of the Defendants that violates the

   Oklahoma Consumer Protection Act;

          M.      Attorney fees and costs of this action; and

          N.      Any other relief to which the Plaintiff is entitled.

   Trial by Jury is demanded on all issues.

   Dated: September 14, 2023                     Respectfully submitted,

                                                 Attorney for the Plaintiff,
                                                 Ms. Renee Johnson


                                                 s/Teressa L. Webster
                                                 Teressa L. Webster, OBA No. 30767
                                                 Attorney for Petitioner
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                                                 Muskogee, Oklahoma 74401
                                                 (T) 918-683-5681
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                                                 (E) Teressa.Webster@laok.org

                                     CERTIFICATE OF SERVICE

          This is to certify that I served a true and correct copy of the foregoing Second Amended
   Complaint on all named Defendants via service through this Court’s Case Management Electronic
   Court Filing System.

   Date, September 14, 2023                                  s/Teressa L. Webster




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